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Capitol police officers suing Trump, Proud Boys, Oath
Keepers over Jan. 6 riot
By FOX 5 Digital Team | Published August 26, 2021 | Updated 1:35PM | Washington, D.C. | FOX 5 DC



   DC, Capitol cops testify during January 6 hearing
   D.C. and Capitol police officers provided testimony during a Select Committee
   hearing on the January 6 riot on Tuesday.



   WASHINGTON - Seven Capitol police officers are suing former President
   Donald Trump, along with two prominent far-right organizations, for their
   alleged role in the Jan. 6 Capitol riot, according to lawyers representing them.

   Along with the former president and his campaign, the civil suit names noted
   Trump associate Roger Stone, the Proud Boys, the Oath Keepers, the Stop the
   Steal movement, and other assorted members of those organizations as
   defendants.

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   According to the organization Lawyers’ Committee for Civil Rights Under Law,
   the defendants "violated the federal Ku Klux Klan Act, the D.C. Bias-Related
   Crimes Act, and other laws."

   They say the Capitol riot – as a result of which five people died, including a
   Capitol police officer – was triggered by Trump’s claim that the 2020 election
   results were fraudulent.

   The mob besieged the U.S. Capitol after leaving a rally featuring the former
   president, in which he reiterated claims that the election had been "stolen"
   from him.

   READ MORE: US Capitol police didn't 'adequately' respond to Jan. 6 riot,
   report shows

   When the rioters stormed the Capitol, they temporarily halted a joint session of
   Congress’ electoral vote certification process, which ultimately cemented
   President Joe Biden’s victory in the 2020 election.

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   According to the lawsuit, the former president played a leadership role in the
   incident:

   "Trump employed, planned for, and encouraged the use of force, intimidation, and
   threats to try to stop the Congressional count of electoral votes on January 6. He
   followed the capitol Attack on television and social media as it happened, and
   despite requests made to Trump to call off the attackers—including from House
   Minority Leader Kevin McCarthy—he refused to do so for hours as he watched on

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   live television the attackers overrun the Capitol and threaten its lawful occupants.
   Instead, Trump encouraged and supported the attackers. While the attack was
   ongoing, Trump and his co-conspirators contacted members of Congress, not to
   offer support or protection, but to pressure them to delay further and to stop the
   Congressional count."

   The officers who filed the suit also provided a statement:

   "We joined the Capitol Police to uphold the law and protect the Capitol
   community. On Jan. 6 we tried to stop people from breaking the law and
   destroying our democracy. Since then our jobs and those of our colleagues have
   become infinitely more dangerous. We want to do what we can to make sure the
   people who did this are held accountable and that no one can do this again."

   READ THE COMPLETE LAWSUIT




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